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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR353
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
TONY SKANNELL,                               )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant's motion for a reduction of

sentence (Filing No. 743).

      The Defendant was sentenced on October 18, 2004, to 360 months imprisonment.

After his sentence was vacated on direct appeal, he was again sentenced to 360 months

imprisonment on June 4, 2007. The Judgment was affirmed on appeal. The Defendant's

§ 2255 motion was summarily denied. He now requests a lower sentence based on the

advisory nature of the sentencing guidelines.

      The motion will be denied. The Defendant has no options for further relief.

      IT IS ORDERED:

      1.     The Defendant's motion for a reduction of sentence (Filing No. 743) is

             denied; and

      2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

             known address.

      DATED this 10th day of May, 2011.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
